Case: 1:18-Cv-067 cu en ' 7 Filed: 30/18 Pa e 1 of 1 Pa e|D #:1247
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Energy lnte|[igence Group, lnc. et ai. vs. BlVlO Harris Banl< et a|. 18 CV 06721
P|aintiff/Petitioner Defendant/Respondent Case#

Being duly sworn, on my cath, l Al‘\Cll`€%W Rapha€l
declare that l am a citizen of the Un§ted States, over the age of eighteen and not a party to this action.

Service: l served BlVlO l-|arris Nesbitt Securities, LTD.

 

NAN|E OF“ PERSON/ENT|TY BE|NG SERVED
W`lti’i the (documents) r_'l Subpoena With $ witness fee and mileage

/a/Summons, Complaint, Exhibit A, Civii Cover Sheet, Case N|anagement Package

 

And Order

 

 

 

by serving (NAME) Yaryce|is Rodriguezl\.lieves1 Te|ler authorized to accept

 

 

 

atm Home
Asiness 111 W. i\llonroe Street Chicago, |L.
W (DATE) October19,2018 at (‘rlME) 3:15 p.m.

 

Thereefter copies of the documents were mailed by prepaid, first class mail on {DATE)

 

From (Cl`E'¥) (STA'T`E}
Manner of Service:

o B Persona| Sezvice
}/By delivering, during office hours1 copies at the office of the person/entity being served, leaving same witi‘i the person
apparently in charge thereof, name|y,
Yaryceiis RodriguezNieveS1 TeEler authorized to accept

 

o By leaving a copy at the defendants usual place of abode, with some person of the family or a person
residing there, of the age of 13 years or upwards, and informing that person of the general nature of the papers

 

o By posting copies in a conspicuous manner to the address of the person/entity being served.

 

 

 

 

Non$ewice: After due search, careful inquiry and diligent attempts at the address(es} listed above, l have been
unable to effect process upon the person/entity being served because of the following reason(s};
Unknown at Address o Evading El Other:
Address does not exist o Service cancelled by litigant
o Nloved, Left no forwarding \:: Unabie to serve in a timely fashion
Service Attempts: Servlce was attempted on: ( ) »( ) .( )
DATE TlNlE DATE 'l”lNlE DATE TllVlE
( ) .( ) .l ) .( )
DATE TEME DATE `FEME D/-\TE TIN|E DA'E'E Tl|VlE
Descrlption: o Nlale o White lack Hair cr White Hair o 14-20 Yrs. o Under 5' o Un r 100 Lbs.
/:i’Fema|e o Black m Brown Hair o Ba|ding /a’§1-35 Yrs. o 5'~5'3" UG-130 Lbs.
sparse s island Hair s 36_50 Yrs. ,a'§¢"-s'a" a t31-160 Lbs.
o G|asses o Asian o Gray Hair o Nlustache o 51-65 ¥rs. o 5'9"-6' o 161-200 Lbs.
o indian o Red Halr m Beard o Over 65 Yrs. cr Over 6' m Over 200 Lbs.

OTHER lDENTlFYlNG FEATURESZ

 

////’/s

/ "'
State of Illinois County of Cook

SERVED B "
SALLE PROC S
LLINOES PR!VATE D l

  
  
 

  
     
     
      
   

vs ucsnss# 117-001432
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BETHZND,§ FE%zttlnols
Norn=n Pusuc . s mrs Estomm

MY COMM\SSlON EXPlR
F PROFESSIONAL PROCESS SERVERS

 

 

     

